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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA

                                                  )
CENTER FOR BIOLOGICAL DIVERSITY,                  )
                                                  )
                Plaintiff,                        )
                                                  )
       v.                                         )      Case No. 1:20-cv-02714-TSC
                                                  )
DEBRA HAALAND, in her official                    )
capacity as Secretary of the U.S. Department      )
of the Interior, and U.S. FISH AND                )
WILDLIFE SERVICE,                                 )
                                                  )
                Defendants.                       )
                                                  )


                          JOINT MOTION FOR APPROVAL OF
                     STIPULATION TO SETTLE PLAINTIFF’S CLAIM
                          FOR ATTORNEYS’ FEES AND COSTS

       Plaintiff Center for Biological Diversity (“Plaintiff”) and Defendants Debra Haaland, in

her official capacity as Secretary of the U.S. Department of the Interior, and the U.S. Fish and

Wildlife Service (“Service”) (collectively, “the parties”), pursuant to the Court’s August 24,

2021 Minute Order, come now before the Court to respectfully request approval of the

Stipulation to Settle Plaintiff’s Claim for Attorneys’ Fees and Costs (“Stipulation”). In support of

this motion, the parties state as follows:

       1.       On September 23, 2020, Plaintiff filed the above-captioned action to compel the

Service to issue 12-month findings as to whether the listing of eight species of Caribbean skinks

is warranted, not warranted, or warranted but precluded. ECF No. 1.

       2.       On May 27, 2021, the parties, through their authorized representatives, filed a

Stipulated Settlement Agreement resolving the merits of the disputes set forth in Plaintiff’s
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Complaint and reserving Plaintiff’s claim for an award of attorneys’ fees and costs, which was

approved by the Court the same day. ECF No. 14.

         3.       On July 27, 2021, the parties filed the Stipulation. ECF No. 15.

         4.       In a Minute Order issued on August 24, 2021, the Court informed the parties that

to the extent they seek Court approval of the Stipulation, they should file a motion and a

proposed order. The parties submit the instant motion pursuant to the August 24, 2021 Minute

Order.

         5.       The parties believe that the Stipulation is in the interest of judicial economy and

the parties’ best interests. Furthermore, the parties believe that the Stipulation is in the public

interest and just, fair, adequate, and equitable.

         Therefore, the parties respectfully request that the Court grant the instant joint motion and

approve the Stipulation pursuant to the terms therein. A proposed order is attached to this

motion.

         Respectfully submitted August 31, 2021:



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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of this filing to the

attorneys of record.



                                               /s/ Kamela A. Caschette
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